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IN THE UNITED STATES BANKRUPTCY COURT
F()R THE DISTRICT ()F DELAWARE

 

In re: Chapter 11

POWERWAVE TECHNOLOGIES, INC.,l Case No. 13-10134 (MFW)

Hearing Date: TBD
Objection Deadline: TBD

Debtor.

\._J\_J\_/\~_/\_/\_/\_/

 

MOTION FOR ENTRY OF AN ORDER CONVERTING
CASE TO CHAPTER 7 AND IMPLEMENTING SETTLEMENT
AMONG DEBTOR, P-WAVE HOLDINGS, LLC AND THE
OFFICIAL COMMITTEE ()F UNSECURED CREDITORS

PoWerWave Technologies, Inc., the above~captioned debtor and debtor in possession (the
“D_ebtg_r”), hereby submits this motion (the “_I\_/l_otiqr_l”) for entry of an order, substantially in the
form attached hereto as ExhibitA (the “Or_ck:r”), converting the Debtor’s chapter 11 case to a
chapter 7 case and implementing the terms of the settlement among the Debtor, its secured lender
P-Wave Holdings, LLC (“w_aye”), and the Official Comrnittee of Unsecured Creditors (the
“Committee”), the terms of Which settlement Were read into the record at the May 16, 2013
hearing on the sale of substantially all of the Debtor’s assets (the “Sale Hearing”), pursuant to
sections 105(a) and 1112 of title 11 of the United States Code (the “Bankruptcy Code”) and rules
1017, 2002, 9006, 9013 and 9019 of the F ederal Rules of Bankruptcy Procedure (the
“Banl<ruptcy Rules”). ln support of this Motion, the Debtor respectfully represents as follows:

Jurisdiction

1. The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157

and 1334.

2. This is a core proceeding Within the meaning of 28 U.S.C. § 157(b).

 

1 The last four digits of the Debtor’s federal tax identification number are 3423.

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3. Venue of this chapter 11 case (the “Chapter 11 Case”) in this District is proper
under28 U.S.C. §§ 1408 and 1409.

4. The statutory predicates for the relief requested herein are sections 105(a) and
1112 ofthe Bankruptcy Code and Banl<ruptcy Rules 1017, 2002, 9006, 9013 and 9019.

Backgrnund

5. On January 28, 2013 (the “Petition Date”), the Debtor commenced a voluntary
case under chapter 11 of the Banl<ruptcy Code. On February 7, 2013, the Ofi'ice of the United
States Trustee appointed the Committee.

6. The factual background relating to the Debtor’s commencement of its Chapter li
Case is set forth in detail in the Dec[aralion ofRonald J. Buschur, [Former] Presz'denl and Chief
Executive Ojjicer of Powerwave Technologz'es, Inc., in Support of the Debror ’S Fz'rsf Day
Moriorzs and Appltcalions [Docket No. 24], filed on January 30, 2013 in the Debtor’s Chapter 11
Case and incorporated herein by reference.

7. On May 17 and 22, 2013, the Court entered orders [Dockel Nos. 49], 493 and
519] (collectively, the “Sale Orders”) approving, respectively: (a) a sale to P-Wave of certain of
the Debtor’s assets, consisting primarily of the Debtor’s patent portfolio, accounts receivable and
certain intangible assets, for a credit bid of $10,200,000; (b) a sale to a joint venture comprised
of Counsel RB Capital, LLC, The Branford Group and Maynards Industries (collectively,
“QR§”) of certain of the Debtor’s tangible assets, consisting primarily of inventory, machinery
and equipment, for a cash bid of $6,600,000; and (c) a sale to Teal< Capital Partners Ltd.
(“Ea_l§’) of 100% of the Debtor’s equity interests in its affiliate Powerwave Technologies

(Thailand) Ltd. and certain related assets, for a cash bid of $50,000.

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8. The Debtor’s debtor~in-possession loan matured, and its use of cash collateral
expired, on May 17, 2013 and, on that day, the Debtor terminated all but a handful of employees
The sales to P-Wave and CRB closed on May 22, 20i3 and the sale to Teak closed on May 24,
2013. Since the May 22, 2013 closings of the P-Wave and CRB sales, the Debtor has transferred
approximately $7,066,468 to P-Wave, consisting of the following: (a) $6,275,388.3] of
proceeds from the sale of assets to CRB, net of $324,611.69 paid to the Debtor’s investment
banl<er; (b) $92,438.58 in realized accounts receivable collected by the Debtor between May 14
and 17, 2013 (prior to the P-Wave sale closing); (c) $648,641.88 in realized accounts receivable
collected by the Debtor between May 18 and May 22, 2013 (prior to the P-Wave sale closing);
and (d) approximately $50,000 in realized accounts receivable collected by the Debtor after the
P~Wave sale cfosing. P~Wave agreed to provide the Debtor with $150,000 of funding from May
18, 2013 through May 31, 2013. As of the date of fiiing this Motion, the Debtor has
approximately $2.4 million of cash on hand. Upon approval of this Motion, the Debtor proposes
(x) to retain and transfer to the chapter 7 trustee 81,050,000 of the cash on hand to fund the
Administrative Reserve, the GUC Carve-Out and the Trustee Fund (each term as defined below)
and (y) to transfer to P-Wave the balance of the cash held by the Debtor.

Summary of Relief Reguested

9. On May 16, 2013, the Debtor, P-Wave and the Committee settled their disputes
relating to the sale of substantially all of the Debtor’s assets ~ on the record at the Sale Hearing -
With an arrangement that Will provide a return to the Debtor’s general unsecured creditors
through a “carve-out” from the proceeds realized from the sale of P-Wave’s collateral, that will
provide “seed money” for a chapter 7 trustee to administer the chapter 7 estate and that will

provide for a sharing between P-Wave and general unsecured creditors of monies that a chapter 7

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trustee might have available to distribute to general unsecured creditors under section 726(a)(2)
of the Banl<ruptcy Code (the “Settlement”). The Settlement announced on the record was to be
implemented either through a chapter 11 liquidating plan, a chapter 7 conversion or a dismissal
of the Debtor’s Chapter 11 Case. The parties could not reach agreement on sufficient funding of
the Debtor’s Chapter 11 Case to propose and confirm a chapter ll liquidating plan, so the
Settlement Will be implemented through a conversion to chapter 7. The Settlement resolved the
objections of the Committee [Docker NO. 472] and Deutsche Bank Trust Company, indenture
trustee for holders of the Debtor’s 2.75% Convertible Senior Subordinated Notes due 2041
[Docket No. 475], to the sale and paved the way for the Court’s entry of the Sale Orders.

10. By this Motion, the Debtor seeks entry of an order converting the Debtor’s
Chapter 11 Case to a case under chapter 7 to conclude the Debtor’s Chapter ll Case and to
implement the Settlement.

ll. The Debtor requests that the Order granting this Motion explicitly be binding on
any subsequently-appointed or elected chapter 7 trustee, so that the parties are not denied the
benelit of their bargain Additionally, the Debtor requests that any order converting this case
explicitly provide that $650,000 of sale or P-Wave collateral proceeds shall remain in the
Debtor’s estate and shall solely be used by the chapter 7 trustee to satisfy allowed chapter ll
administrative expenses (excluding chapter 11 fees and expenses incurred by the Debtor and
Committee professionals, which fees and expenses were subject to a professional fee carve-out,
budget and fee escrow established pursuant to cash collateral and debtor-in~possession financing
orders entered in this proceeding) (the “Administrative Reserve”), with any unused portion of the

Administrative Reserve refunded by the chapter 7 trustee to P-Wave.

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12.

Hearing, are:

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The Settlement

The economic terms of the Settlement, as read into the record at the Sale

A carve-out of $150,000 of sale or P-Wave collateral proceeds shall be
paid to a trust for distribution to the Debtor’s general unsecured
creditors (the “GUC Carve~Out”).

P-Wave shall fund the trust with an additional $250,000 carve-out
from sale or P-Wave collateral proceeds (the “Trustee Fund”), to fund
fees and expenses relating to the prosecution of claims and.causes of
action of the Debtor and the Debtor’s estate, to the extent such claims
or causes of action were not sold pursuant to the Sale Orders
(collectively, “Causes of Action”), including, without limitation, those
claims and causes of action arising under sections 502, 510, 541, 542,
544, 545, 547 through 551 or 553 of the Bankruptcy Code, or under
similar or related state or federal statutes and common law, including
fraudulent transfer laws (ccllectively, “Avoidance Actions”).

Proceeds realized from the prosecution of the Causes of Action first
vvil] be used to pay claims in accordance with section 726(a)(1) of the
Banl»;ruptcy Code and the proceeds that otherwise would be used to
pay claims in accordance With section 726(a)(2) of the Banl<ruptcy
Code are subject to the following distribution waterfall (the “Agreed
Waterfall”):

i. Proceeds up to $250,000 shall be distributed to P-Wave;

ii. Proceeds between $250,001 and $2,500,000 shall be distributed
80% to P-Wave and 20% to creditors other than P~Wave
holding claims subject to distribution under Section 726(a)(2)
of the Banl<ruptcy Code;

iii. Proceeds between $2,500,001 and $5,000,000 shall be
distributed 75% to P-Wave and 25% to creditors other than P-
Wave holding claims subject to distribution under Section
726(a)(2) of the Banlcruptcy Code;

iv. Net recoveries in excess of $5,000,001 shall be distributed 40%
to P~Wave and 60% to creditors other than P-Wave holding
claims subject to distribution under Section 726(a)(2) of the
Bankruptcy Code; and

v. P~Wave may not recover in the aggregate in excess of 150% of
the amount of P-Wave’s claim against the Debtor, after

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reduction for P-Wave’s credit bid, for payments made to P-
Wave from the Debtor’s estate, and for proceeds realized by P-
Wave from the CRB sale and from other collateral collections.

A copy of the relevant portion of the transcript from the Sale Hearing is attached hereto as
Exhibit B.
Basis for Relief

13. Section 1112(a) of the Banl<ruptcy Code provides that “the debtor may convert a
case under this chapter to a case under chapter 7 of [the Banl<ruptcy Codej unless ~ (l) the debtor
is not a debtor in possession; (2) the case originally was commenced as an involuntary case
under this chapter; or (3) the case Was converted to a case under this chapter other than on the
debtor’s request.” 11 U,S.C. § 1112(a). A chapter 11 debtor has an absolute right, therefore, to
convert its case to a case under chapter 7 of the Banl<ruptcy Code.

14. None of the exceptions to the Debtor’s right to convert its Chapter 11 Case to a
case under chapter 7 of the Banl<ruptcy Code exist here. On the contrary, given that the parties
cannot agree on a budget to fund the chapter 11 proceeding, conversion of the Chapter 11 Case
to one under chapter 7 is one of only two remaining alternatives to implement the Settlement.
Conversion of the Chapter 11 Case will enable a trustee to collect and liquidate the remaining
assets of the Debtor’s estate, which will include Causes of Action, including Avoidance Actions,
excess collateral securing letters of credit, excess collateral securing claims of a surety that has
issued surety bonds, proceeds of inventory located in third-party warehouses and proceeds
realized from the liquidation of foreign subsidiaries The Debtor, however, believes that it is
fair, equitable, just and appropriate that conversion be conditioned upon entry of an order
establishing the Administrative Reserve, the GUC Carve~()ut the Trustee Fund, and approving

the Agreed Waterfall.

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Notice

15. Notice of this l\/[otion has been given to: (a) the Oftice of the United States

Trustee for the District of Delaware; (b) counsel for the Committee; (c) counsel for P-Wave;' and

(d) all other parties requesting notice pursuant to rule 2002 of the Federal Rules of Bankruptcy

Procedure. ln light of the nature of the relief requested herein, the Debtor submits that no further

notice of the l\/lotion is necessary or required.

No Prior Reguest

16. No prior motion for the relief requested herein has been made to this Court or any

other court.

Wl“lEREFORE, the Debtor respectfully requests that the Court enter an order,

substantially in the form attached hereto as Exhibit A, granting the relief requested in the l\/lotion

and granting such other and further relief as may be equitable and just.

Dated: l\/lay 30, 2013
Wilmington, Delaware

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